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                                                                         APPEAL, LC-1, RELEASED

                               U.S. District Court
       U.S. District Court for the Northern District of Oklahoma (Tulsa)
ABRIDGED CRIMINAL DOCKET FOR CASE #: 4:09-cr-00043-SPF All Defendants


Case title: USA v. Springer et al                             Date Filed: 03/10/2009
Other court case number: 09-5165 10th Circuit Court           Date Terminated: 04/30/2010


 Date Filed       #    Docket Text
 03/10/2009        1   DEFENDANT INFORMATION SHEET(S) by USA as to Lindsey Kent
                       Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/10/2009) Contains One
                       or More Restricted PDFs

 03/10/2009        2   INDICTMENT by USA as to Lindsey Kent Springer (1) count(s) 1, 2, 3-4, 5-
                       6, Oscar Amos Stilley (2) count(s) 1, 3-4 (pll, Dpty Clk) (Entered:
                       03/10/2009)
 03/10/2009        3   SUMMONS Issued by Court Clerk as to Lindsey Kent Springer (pll, Dpty
                       Clk) (Entered: 03/10/2009) Contains One or More Restricted PDFs
 03/18/2009        6   MOTION for In Camera Review of Fifth Amendment Proffer by Lindsey
                       Kent Springer (sjm, Dpty Clk) (Entered: 03/18/2009)
 03/18/2009        7   BRIEF in Support of Motion (Re: 6 MOTION for In Camera Review of Fifth
                       Amendment Proffer ) by Lindsey Kent Springer (sjm, Dpty Clk) (Entered:
                       03/18/2009)
 03/18/2009        8   MOTION for Bill of Particulars by Lindsey Kent Springer (sjm, Dpty Clk)
                       (Entered: 03/18/2009)
 03/18/2009        9   MINUTE ORDER by Judge Payne, due to Court conflict, recusing Judge
                       James H Payne, this case is hereby returned to the Court Clerk for further
                       reassignment, Court Clerk reassigned to case as to Lindsey Kent Springer,
                       Oscar Amos Stilley (pll, Dpty Clk) (Entered: 03/18/2009)
 03/18/2009      11    ORDER by Magistrate Judge Paul J Cleary (for purposes of initial appearance
                       only), appointing CJA attorney as to Lindsey Kent Springer (kjp, Dpty Clk)
                       (Entered: 03/18/2009)
 03/18/2009      12    ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as to
                       Lindsey Kent Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
 03/18/2009      13    BOND approved by Magistrate Judge Paul J Cleary as to Lindsey Kent
                       Springer (kjp, Dpty Clk) (Entered: 03/18/2009)
 03/18/2009      15    ORDER by Magistrate Judge Paul J Cleary (for purposes of initial appearance
                       only), appointing CJA attorney as to Oscar Amos Stilley (kjp, Dpty Clk)




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                      (Entered: 03/18/2009)
 03/18/2009      16   ORDER by Magistrate Judge Paul J Cleary, setting conditions of release as to
                      Oscar Amos Stilley (kjp, Dpty Clk) (Entered: 03/18/2009)
 03/18/2009      17   BOND approved by Magistrate Judge Paul J Cleary as to Oscar Amos Stilley
                      (kjp, Dpty Clk) (Entered: 03/18/2009)
 03/19/2009      18   ORDER by Magistrate Judge Paul J Cleary directing defendants regarding
                      representation, setting/resetting deadline(s)/hearing(s): (copy of Order mailed
                      to both defendants on 3/19/09) ( Miscellaneous Deadline set for 3/30/2009) as
                      to Lindsey Kent Springer, Oscar Amos Stilley (kjp, Dpty Clk) (Entered:
                      03/19/2009)
 03/23/2009      19   RESPONSE (Re: 8 MOTION for Bill of Particulars, 5 MOTION for
                      Electronic Access, 7 Brief in Support of Motion, 6 MOTION for In Camera
                      Review of Fifth Amendment Proffer ) by USA as to Lindsey Kent Springer,
                      Oscar Amos Stilley (Snoke, Kenneth) (Entered: 03/23/2009)
 03/24/2009      20   MOTION to Withdraw Attorney(s) R. Scott Williams by Lindsey Kent
                      Springer as to Lindsey Kent Springer (Williams, Robert) Modified on
                      3/25/2009 to reference to Oscar Stilley (tjc, Dpty Clk). (Entered: 03/24/2009)
 03/24/2009      21   MOTION for Hearing (Re: 20 MOTION to Withdraw Attorney(s) ) by
                      Lindsey Kent Springer as to Lindsey Kent Springer (Williams, Robert)
                      Modified on 3/25/2009 to remove reference to Oscar Stilley (tjc, Dpty Clk).
                      (Entered: 03/24/2009)
 03/31/2009      24   MINUTE ORDER by Court Clerk at the direction of Chief Judge Claire V.
                      Eagan, reassigning case to Judge Stephen P Friot. Court Clerk no longer
                      assigned to case, changing case number to 09-CR-43-SPF as to Lindsey Kent
                      Springer, Oscar Amos Stilley (a-hc, Dpty Clk) (Entered: 03/31/2009)
 04/01/2009      25   MOTION for Protective Order by USA as to Lindsey Kent Springer, Oscar
                      Amos Stilley (O'Reilly, Charles) (Entered: 04/01/2009)
 04/02/2009      26   ORDER by Judge Stephen P Friot (Protective Order), ruling on motion
                      (s)/document(s): #25 Granted (Re: 25 MOTION for Protective Order ) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                      04/02/2009)
 04/03/2009      27   ORDER by Magistrate Judge Paul J Cleary Appointing Standby Counsel,
                      adding attorney Robert Scott Williams for Lindsey Kent Springer, Charles
                      Robert Burton, IV for Oscar Amos Stilley, ruling on motion(s)/document(s):
                      #20 and #21 moot (Re: 20 MOTION to Withdraw Attorney(s) R. Scott
                      Williams, 21 MOTION for Hearing ) as to Lindsey Kent Springer, Oscar
                      Amos Stilley (kjp, Dpty Clk) (Entered: 04/03/2009)
 04/06/2009      28   MOTION to Permit Oscar Stilley to File by CM/ECF by Oscar Amos Stilley
                      (s-srb, Dpty Clk) (Entered: 04/07/2009)
 04/07/2009      29   ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s):
                      ( Motion Hearing set for 4/22/2009 at 10:00 AM before Judge Stephen P Friot,
                      Scheduling Conference set for 4/22/2009 at 10:00 AM before Judge Stephen P




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                      Friot) (Re: 8 MOTION for Bill of Particulars, 6 MOTION for In Camera
                      Review of Fifth Amendment Proffer ) as to Lindsey Kent Springer, Oscar
                      Amos Stilley (pll, Dpty Clk) (Entered: 04/07/2009)
 04/07/2009      30   MOTION to Clarify appointment of Honorable Judge Stephen P. Friot by
                      Lindsey Kent Springer (Springer, Lindsey) (Entered: 04/07/2009)
 04/08/2009      31   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #28
                      Granted (Re: 28 MOTION to Permit Oscar Stilley to File by CM/ECF ) as to
                      Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/08/2009)
 04/08/2009      32   ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09
                      (Re: 30 MOTION to Clarify appointment of Honorable Judge Stephen P.
                      Friot ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/08/2009)
 04/10/2009      33   MOTION for Bill of Particulars by Oscar Amos Stilley as to Lindsey Kent
                      Springer, Oscar Amos Stilley (Stilley, Oscar) (Entered: 04/10/2009)
 04/10/2009      34   ORDER by Judge Stephen P Friot : setting Motion for hearing on 4/22/09
                      (Re: 33 MOTION for Bill of Particulars, 29 Order,,,, Setting/Resetting
                      Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s) ) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                      04/10/2009)
 04/13/2009      35   MOTION for Protective Order Pending Prospective Franks Hearing by
                      Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                      04/13/2009)
 04/13/2009      36   MOTION to Unseal Document(s) in 03-CR-55E (Re: 35 MOTION for
                      Protective Order Pending Prospective Franks Hearing ) by Lindsey Kent
                      Springer (With attachments) (Springer, Lindsey) (Entered: 04/13/2009)
 04/13/2009      37   MOTION Request for Release of Affidavit and Transcript surrounding
                      issuance of Search Warrant dated 9.15.05 by Lindsey Kent Springer (With
                      attachments) (Springer, Lindsey) (Entered: 04/13/2009)
 04/15/2009      39   MOTION Unopposed Motion for Limited Unsealing of Search Warrant and
                      Affidavit and Materials from Case 03-CR-055-CVE by USA as to Lindsey
                      Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 04/15/2009)
 04/15/2009      40   NOTICE NOTICE RE GOVERNMENT MOTION FOR LIMITED
                      UNSEALING OF SEARCH WARRANT AFFIDAVIT AND MATERIALS
                      FROM CASE 03-CR-043-CVE (Re: 39 MOTION Unopposed Motion for
                      Limited Unsealing of Search Warrant and Affidavit and Materials from Case
                      03-CR-055-CVE ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                      (With attachments) (O'Reilly, Charles) (Entered: 04/15/2009)
 04/16/2009      41   ORDER by Judge Stephen P Friot setting Motion for Hearing on 4/22/09 (Re:
                      39 MOTION Unopposed Motion for Limited Unsealing of Search Warrant
                      and Affidavit and Materials from Case 03-CR-055-CVE ) as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/16/2009)
 04/16/2009      42   RESPONSE in Opposition to Motion Consolidated (Re: 37 MOTION Request
                      for Release of Affidavit and Transcript surrounding issuance of Search




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                      Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for
                      Bill of Particulars, 35 MOTION for Protective Order Pending Prospective
                      Franks Hearing, 30 MOTION to Clarify appointment of Honorable Judge
                      Stephen P. Friot, 6 MOTION for In Camera Review of Fifth Amendment
                      Proffer, 36 MOTION to Unseal Document(s) in 03-CR-55E ) by USA as to
                      Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly,
                      Charles) (Entered: 04/16/2009)
 04/22/2009      43   MINUTES of Proceedings - held before Judge Stephen P Friot: Motion
                      Hearing held on 4/22/2009, Scheduling Conference held on 4/22/2009, ruling
                      on motion(s)/document(s): #30 Granted, #6, 8, 33 Denied, #36, 37, 39 Granted
                      in Part, Denied in part, taking motion(s) under advisement, setting/resetting
                      deadline(s)/hearing(s): ( Motions due by 6/1/2009, Responses due by
                      6/15/2009, Motion Hearing set for 7/9/2009 at 09:00 AM before Judge
                      Stephen P Friot, Jury Instructions, Voir Dire & Trial Briefs due by 8/3/2009,
                      Pretrial Conference set for 10/21/2009 at 10:00 AM before Judge Stephen P
                      Friot, Jury Trial set for 10/26/2009 at 09:30 AM before Judge Stephen P Friot)
                      as to Lindsey Kent Springer, Oscar Amos Stilley (Re: 37 MOTION Request
                      for Release of Affidavit and Transcript surrounding issuance of Search
                      Warrant dated 9.15.05, 33 MOTION for Bill of Particulars, 8 MOTION for
                      Bill of Particulars, 39 MOTION Unopposed Motion for Limited Unsealing of
                      Search Warrant and Affidavit and Materials from Case 03-CR-055-CVE, 35
                      MOTION for Protective Order Pending Prospective Franks Hearing, 30
                      MOTION to Clarify appointment of Honorable Judge Stephen P. Friot, 6
                      MOTION for In Camera Review of Fifth Amendment Proffer, 36 MOTION to
                      Unseal Document(s) in 03-CR-55E ) (Court Reporter: Tracy Washbourne)
                      (pll, Dpty Clk) (Entered: 04/22/2009)
 04/27/2009      44   REPLY to Response to Motion (Re: 35 MOTION for Protective Order
                      Pending Prospective Franks Hearing ) by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 04/27/2009)
 04/29/2009      46   ORDER by Judge Stephen P Friot, setting/resetting deadline(s)/hearing(s):
                      ( Responses due by 5/11/2009) (Re: 44 Reply to Response to Motion ) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on
                      5/1/2009 to seal PDF, as ENTERED IN ERROR; duplicate entry see Doc # 45
                      for correct entry (tjc, Dpty Clk). (Entered: 04/30/2009) Contains One or More
                      Restricted PDFs

 04/30/2009      45   ORDER by Judge Stephen P Friot directing surreply (Re: 35 MOTION for
                      Protective Order Pending Prospective Franks Hearing, 44 Reply to Response
                      to Motion ) as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/30/2009)
 05/01/2009      47   NOTICE of Request pursuant to Fed.R.Cr.Pr.Rule 16(a)(1)(G) as to Lindsey
                      Kent Springer (Springer, Lindsey) (Entered: 05/01/2009)
 05/06/2009      48   SURREPLY to Motion (Re: 35 MOTION for Protective Order Pending
                      Prospective Franks Hearing ) by USA as to Lindsey Kent Springer (Snoke,
                      Kenneth) (Entered: 05/06/2009)
 05/08/2009      49   MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline(s) July 9, 2009,
                      Hearing on Motion for Franks Issue and/or Suppress (Re: 43 Minutes of
                      Motion Hearing,,,,,, Minutes of Scheduling Conference,,,,,, Ruling on Motion




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                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Taking Motion(s) Under
                      Advisement, Taking Motion(s) Under Advisement, Taking Motion(s) Under
                      Advisement, Taking Motion(s) Under Advisement, Taking Motion(s) Under
                      Advisement, Taking Motion(s) Under Advisement, Setting/Resetting Deadline
                      (s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                      Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s),
                      Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting Deadline
                      (s)/Hearing(s) ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                      (With attachments) (O'Reilly, Charles) (Entered: 05/08/2009)
 05/12/2009      50   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #49
                      Granted in Part, setting/resetting deadline(s)/hearing(s): ( Motion Hearing set
                      for 7/2/2009 at 09:00 AM before Judge Stephen P Friot) (Re: 49 MOTION to
                      Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                      Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                      Accelerate/Extend/Reset Hearing(s)/Deadline(s) MOTION to
                      Accelerate/Extend/Reset Hearing(s)/Deadline(s) ) as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 05/12/2009)
 05/15/2009      51   First MOTION to Dismiss Indictment/Information/Complaint for lack of
                      venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 05/15/2009)
 05/15/2009      52   First BRIEF in Support of Motion (Re: 51 First MOTION to Dismiss
                      Indictment/Information/Complaint for lack of venue ) by Lindsey Kent
                      Springer (With attachments) (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      53   Second MOTION to Dismiss Indictment/Information/Complaint for violations
                      of Paperwork Reduction Act of 1995 (Re: 2 Indictment ) by Lindsey Kent
                      Springer (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      54   Second BRIEF in Support of Motion (Re: 53 Second MOTION to Dismiss
                      Indictment/Information/Complaint for violations of Paperwork Reduction Act
                      of 1995 ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                      (Entered: 05/15/2009)
 05/15/2009      55   Third MOTION to Dismiss Indictment/Information/Complaint pursuant to
                      CIR v. Duberstein (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 05/15/2009)
 05/15/2009      56   Third BRIEF in Support of Motion (Re: 55 Third MOTION to Dismiss
                      Indictment/Information/Complaint pursuant to CIR v. Duberstein ) by Lindsey
                      Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      57   Fourth MOTION to Dismiss Indictment/Information/Complaint for failure to
                      allege tax deficiency element (Re: 2 Indictment ) by Lindsey Kent Springer
                      (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      58   Fourth BRIEF in Support of Motion (Re: 57 Fourth MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege tax deficiency
                      element ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)




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 05/15/2009      59   Fifth MOTION to Dismiss Indictment/Information/Complaint on Fifth
                      Amendment Grounds (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 05/15/2009)
 05/15/2009      60   Fifth BRIEF in Support of Motion (Re: 59 Fifth MOTION to Dismiss
                      Indictment/Information/Complaint on Fifth Amendment Grounds ) by Lindsey
                      Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      61   Sixth MOTION to Dismiss Count(s) One, Two, Three and Four (Re: 2
                      Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      05/15/2009)
 05/15/2009      62   Sixth BRIEF in Support of Motion (Re: 61 Sixth MOTION to Dismiss Count
                      (s) One, Two, Three and Four ) by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 05/15/2009)
 05/15/2009      63   Seventh MOTION to Dismiss Indictment/Information/Complaint for failure to
                      allege certain specific provisions (Re: 2 Indictment ) by Lindsey Kent
                      Springer (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      64   Seventh BRIEF in Support of Motion (Re: 63 Seventh MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege certain specific
                      provisions ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      05/15/2009)
 05/15/2009      65   Eighth MOTION to Dismiss Indictment/Information/Complaint violation of
                      Fourth/Fifth Amendment and Selective Prosecution (Re: 2 Indictment ) by
                      Lindsey Kent Springer (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      66   Eighth BRIEF in Support of Motion (Re: 65 Eighth MOTION to Dismiss
                      Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                      Selective Prosecution ) by Lindsey Kent Springer (With attachments)
                      (Springer, Lindsey) (Entered: 05/15/2009)
 05/15/2009      67   MOTION to Dismiss Indictment/Information/Complaint for fraud and
                      violation of the 5th Amendment (Re: 2 Indictment ) by Oscar Amos Stilley as
                      to Oscar Amos Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove
                      defendant Lindsey Springer from text (lml, Dpty Clk). (Entered: 05/15/2009)
 05/15/2009      68   BRIEF in Support of Motion to dismiss for fraud and violation of the 5th
                      Amendment (Re: 67 MOTION to Dismiss Indictment/Information/Complaint )
                      by Oscar Amos Stilley as to Oscar Amos Stilley (Stilley, Oscar) Modified on
                      5/18/2009 to remove Lindsey Springer from text (lml, Dpty Clk). (Entered:
                      05/15/2009)
 05/15/2009      69   JOINDER of motions filed by Lindsey Springer (in [51-66] Generally
                      dispositive filed on May 15, 2009) by Oscar Amos Stilley as to Oscar Amos
                      Stilley (Stilley, Oscar) Modified on 5/18/2009 to remove Lindsey Springer
                      from text (lml, Dpty Clk). (Entered: 05/15/2009)
 05/26/2009      70   ORDER by Judge Stephen P Friot vacating the stay entered by the court on
                      4/22/2009 & directing government to turn over materials to defendant Stilley,
                      ruling on motion(s)/document(s): #35 denied (Re: 35 MOTION for Protective
                      Order Pending Prospective Franks Hearing, 42 Response in Opposition to




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                      Motion,, 43 Minutes of Motion Hearing,,,,,, Minutes of Scheduling
                      Conference,,,,,, Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Taking Motion(s) Under Advisement, Taking Motion(s)
                      Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                      Under Advisement, Taking Motion(s) Under Advisement, Taking Motion(s)
                      Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),
                      Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting Deadline
                      (s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting
                      Deadline(s)/Hearing(s), Setting/Resetting Deadline(s)/Hearing(s), 44 Reply to
                      Response to Motion, 48 Surreply to Motion ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (djh, Dpty Clk) (Entered: 05/26/2009)
 05/29/2009      71   RESPONSE in Opposition to Motion Fifty-one through Sixty-seven (Re: 67
                      MOTION to Dismiss Indictment/Information/Complaint for fraud and
                      violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                      Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                      MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                      certain specific provisions, 69 JOINDER (in [51-66] Generally dispositive
                      filed on May 15, 2009), 55 Third MOTION to Dismiss
                      Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                      MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                      Second MOTION to Dismiss Indictment/Information/Complaint for violations
                      of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                      Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                      Selective Prosecution, 57 Fourth MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege tax deficiency element,
                      61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by USA
                      as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                      05/29/2009)
 06/01/2009      72   MOTION to Suppress Grand Jury testimony and evidence by Oscar Amos
                      Stilley (Stilley, Oscar) (Entered: 06/01/2009)
 06/01/2009      73   BRIEF in Support of Motion (Re: 72 MOTION to Suppress Grand Jury
                      testimony and evidence ) by Oscar Amos Stilley (With attachments) (Stilley,
                      Oscar) (Entered: 06/01/2009)
 06/01/2009      74   MOTION to Suppress by Lindsey Kent Springer (Springer, Lindsey) Modified
                      on 6/2/2009; This is a multi-part motion, see Doc # 77 for second event (tjc,
                      Dpty Clk). (Entered: 06/01/2009)
 06/01/2009      75   BRIEF in Support of Motion (Re: 74 MOTION to Suppress and For Franks
                      Hearing ) by Lindsey Kent Springer (With attachments) (Springer, Lindsey)
                      Modified on 6/2/2009 to seal parts 22, 23 and 24 (s-srb, Dpty Clk). (Entered:
                      06/02/2009) Contains One or More Restricted PDFs
 06/01/2009      77   MOTION for Hearing (submitted as part of Doc # 74 ) by Lindsey Kent
                      Springer (tjc, Dpty Clk) (Entered: 06/02/2009)
 06/02/2009      76   AFFIDAVIT in Support of Motion (Re: 74 MOTION to Suppress and For




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                      Franks Hearing ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      06/02/2009)
 06/02/2009      78   SEALED MOTION (O'Reilly, Charles) (Entered: 06/02/2009) Contains One or
                      More Restricted PDFs

 06/02/2009      79   SEALED ORDER (s-srb, Dpty Clk) Modified on 6/2/2009 to seal pdf and
                      correct docket text(s-srb, Dpty Clk) (Entered: 06/02/2009) Contains One or More
                      Restricted PDFs

 06/15/2009      80   RESPONSE in Opposition to Motion Consolidated (Re: 77 MOTION for
                      Hearing (submitted as part of Doc # 74 ), 72 MOTION to Suppress Grand
                      Jury testimony and evidence, 74 MOTION to Suppress ) by USA as to
                      Lindsey Kent Springer, Oscar Amos Stilley (With attachments) (O'Reilly,
                      Charles) (Entered: 06/15/2009)
 06/15/2009      81   REPLY to Response to Motion to Dismiss (Re: 59 Fifth MOTION to Dismiss
                      Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                      MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                      certain specific provisions, 55 Third MOTION to Dismiss
                      Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                      MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                      Second MOTION to Dismiss Indictment/Information/Complaint for violations
                      of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                      Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                      Selective Prosecution, 57 Fourth MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege tax deficiency element,
                      61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) by
                      Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                      06/15/2009)
 06/15/2009      82   MOTION for Bill of Particulars by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 06/15/2009)
 06/17/2009      85   MINUTE ORDER by Judge Stephen P Friot, setting/resetting deadline
                      (s)/hearing(s): ( Motion Hearing set for 7/2/2009 at 09:00 AM before Judge
                      Stephen P Friot), ruling on motion(s)/document(s): #83 Denied (Re: 82
                      MOTION for Bill of Particulars, 83 MOTION to Accelerate/Extend/Reset
                      Hearing(s)/Deadline(s)MOTION to Accelerate/Extend/Reset Hearing
                      (s)/Deadline(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                      Clk) (Entered: 06/17/2009)
 06/17/2009      86   MOTION to Strike Document(s) (Re: 81 Reply to Response to Motion,,, ) by
                      USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 06/17/2009)
 06/18/2009      87   ORDER by Judge Stephen P Friot , directing Sur-Reply, ruling on motion
                      (s)/document(s): #86 Denied (Re: 86 MOTION to Strike Document(s), 67
                      MOTION to Dismiss Indictment/Information/Complaint for fraud and
                      violation of the 5th Amendment, 59 Fifth MOTION to Dismiss
                      Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                      MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                      certain specific provisions, 55 Third MOTION to Dismiss
                      Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First




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                      MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                      Second MOTION to Dismiss Indictment/Information/Complaint for violations
                      of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                      Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                      Selective Prosecution, 57 Fourth MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege tax deficiency element,
                      69 JOINDER of motions filed by Lindsey Springer (in [51-66] Generally
                      dispositive filed on May 15, 2009), 61 Sixth MOTION to Dismiss Count(s)
                      One, Two, Three and Four ) as to Lindsey Kent Springer, Oscar Amos Stilley
                      (pll, Dpty Clk) (Entered: 06/18/2009)
 06/18/2009      88   SEALED MOTION (s-srb, Dpty Clk) Modified on 6/19/2009 to correct event
                      (s-srb, Dpty Clk). (Entered: 06/19/2009) Contains One or More Restricted PDFs
 06/19/2009      89   SEALED MINUTE ORDER (s-srb, Dpty Clk) (Entered: 06/19/2009) Contains
                      One or More Restricted PDFs

 06/23/2009      91   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #90
                      Granted (Re: 90 MOTION for Leave to Exceed Page Limitation, 67 MOTION
                      to Dismiss Indictment/Information/Complaint for fraud and violation of the
                      5th Amendment, 59 Fifth MOTION to Dismiss
                      Indictment/Information/Complaint on Fifth Amendment Grounds, 63 Seventh
                      MOTION to Dismiss Indictment/Information/Complaint for failure to allege
                      certain specific provisions, 55 Third MOTION to Dismiss
                      Indictment/Information/Complaint pursuant to CIR v. Duberstein, 51 First
                      MOTION to Dismiss Indictment/Information/Complaint for lack of venue, 53
                      Second MOTION to Dismiss Indictment/Information/Complaint for violations
                      of Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                      Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                      Selective Prosecution, 57 Fourth MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege tax deficiency element,
                      61 Sixth MOTION to Dismiss Count(s) One, Two, Three and Four ) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                      06/23/2009)
 06/23/2009      92   JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                      Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                      6/15/2009) as to Oscar Amos Stilley (Stilley, Oscar) (Entered: 06/23/2009)
 06/25/2009      93   SURREPLY (Re: 51 First MOTION to Dismiss, 53 Second MOTION to
                      Dismiss, 55 Third MOTION to Dismiss, 57 Fourth MOTION to Dismiss, 59
                      Fifth MOTION to Dismiss, 61 Sixth MOTION to Dismiss, 63 Seventh
                      MOTION to Dismiss, 65 Eighth MOTION to Dismiss) by USA as to Lindsey
                      Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 6/29/2009
                      to change text to reflect correct event and to change links to reflect base
                      motions (sac, Dpty Clk). (Entered: 06/25/2009)
 06/30/2009      94   MOTION to Quash Subpoenas by USA as to Lindsey Kent Springer, Oscar
                      Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 06/30/2009)
 07/01/2009      96   RESPONSE in Opposition to Motion (Re: 94 MOTION to Quash Subpoenas )
                      by Lindsey Kent Springer (Springer, Lindsey) (Entered: 07/01/2009)




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 07/01/2009      97   RESPONSE in Opposition to Motion (Re: 82 MOTION for Bill of
                      Particulars ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                      (O'Reilly, Charles) (Entered: 07/01/2009)
 07/01/2009      98   Clarification of (Re: 94 MOTION to Quash ) by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (O'Reilly, Charles) Modified on 7/2/2009 to
                      correct title of event (pll, Dpty Clk). Modified on 7/2/2009 (pll, Dpty Clk).
                      (Entered: 07/01/2009)
 07/01/2009      99   MOTION to Quash subpoena by Eddy Lynn Patterson as to Lindsey Kent
                      Springer, Oscar Amos Stilley (sjm, Dpty Clk) Modified on 7/6/2009 to correct
                      file date (lml, Dpty Clk). (Entered: 07/02/2009)
 07/02/2009     100   MINUTES of Proceedings - held before Judge Stephen P Friot: Motion
                      Hearing held on 7/2/2009, ruling on motion(s)/document(s):
                      #51,53,55,57,59,61,63,65,67,69,72,74,77,92 Denied, #82 Granted in Part,
                      Denied in part, #94 Moot, striking/terminating deadline(s)/hearing(s) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (Re: 67 MOTION to Dismiss
                      Indictment/Information/Complaint for fraud and violation of the 5th
                      Amendment, 59 Fifth MOTION to Dismiss Indictment/Information/Complaint
                      on Fifth Amendment Grounds, 63 Seventh MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege certain specific
                      provisions, 77 MOTION for Hearing (submitted as part of Doc # 74 ), 92
                      JOINDER (in [81; 82] Springer's Reply Regarding Opposition to Springer's
                      Motion to Dismiss; Motion for Bill of Particulars filed on 6/15/2009;
                      6/15/2009), 69 JOINDER (in [51-66] Generally dispositive filed on May 15,
                      2009), 55 Third MOTION to Dismiss Indictment/Information/Complaint
                      pursuant to CIR v. Duberstein, 94 MOTION to Quash, 51 First MOTION to
                      Dismiss Indictment/Information/Complaint for lack of venue, 53 Second
                      MOTION to Dismiss Indictment/Information/Complaint for violations of
                      Paperwork Reduction Act of 1995, 65 Eighth MOTION to Dismiss
                      Indictment/Information/Complaint violation of Fourth/Fifth Amendment and
                      Selective Prosecution, 57 Fourth MOTION to Dismiss
                      Indictment/Information/Complaint for failure to allege tax deficiency element,
                      72 MOTION to Suppress Grand Jury testimony and evidence, 82 MOTION
                      for Bill of Particulars, 61 Sixth MOTION to Dismiss Count(s) One, Two,
                      Three and Four, 74 MOTION to Suppress ) (Court Reporter: Tracy
                      Washbourne) (pll, Dpty Clk) Modified on 7/8/2009 to indicate attached PDF
                      has incorrect hearing date. Date hearing held was 7/2/2009 (pll, Dpty Clk).
                      (Entered: 07/02/2009)
 07/02/2009     101   MINUTE ORDER by Judge Stephen P Friot : Following the hearing held this
                      date, the Motion to Quash filed by Eddy Lynn Patterson is hereby moot, ruling
                      on motion(s)/document(s): #99 Moot (Re: 99 MOTION to Quash subpoena )
                      as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                      07/02/2009)
 07/02/2009     103   SEALED EXHIBIT(S) to Order/Minutes (Re: 100 Minutes of Motion
                      Hearing,,,,,,,, Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion




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                      (s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),
                      Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating Deadline
                      (s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                      Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating Deadline
                      (s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                      Striking/Terminating Deadline(s)/Hearing(s) ) (pll, Dpty Clk) (Entered:
                      07/14/2009) Contains One or More Restricted PDFs
 07/08/2009     102   ORDER by Judge Stephen P Friot re: jury instructions as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 07/08/2009)
 07/14/2009     104   BILL OF PARTICULARS (Re: 82 MOTION for Bill of Particulars ) by USA
                      as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered:
                      07/14/2009)
 07/30/2009     105   Second MOTION for Bill of Particulars by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 07/30/2009)
 08/03/2009     107   PROPOSED JURY INSTRUCTIONS by USA as to Lindsey Kent Springer,
                      Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/03/2009)
 08/03/2009     108   First PROPOSED JURY INSTRUCTIONS as to Oscar Amos Stilley (Stilley,
                      Oscar) (Entered: 08/03/2009)
 08/03/2009     109   First MOTION to Dismiss Count(s) 1 Conspiracy charge (Re: 2 Indictment )
                      by Oscar Amos Stilley (Stilley, Oscar) (Entered: 08/03/2009)
 08/03/2009     110   BRIEF in Support of Motion (Re: 109 First MOTION to Dismiss Count(s) 1
                      Conspiracy charge ) by Oscar Amos Stilley (Stilley, Oscar) (Entered:
                      08/03/2009)
 08/04/2009     111   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #106
                      Denied (Re: 106 MOTION to Accelerate/Extend/Reset Hearing(s)/Deadline
                      (s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (cds, Dpty Clk)
                      (Entered: 08/04/2009)
 08/05/2009     112   RESPONSE in Opposition to Motion (Re: 109 First MOTION to Dismiss
                      Count(s) 1 Conspiracy charge ) by USA as to Oscar Amos Stilley (O'Reilly,
                      Charles) Modified on 8/6/2009 to delete "as to" defendant Springer (sac, Dpty
                      Clk). (Entered: 08/05/2009)
 08/05/2009     113   MOTION to File Out of Time Proposed Jury Instructions by Lindsey Kent
                      Springer (With attachments) (Springer, Lindsey) Modified on 8/6/2009 to
                      change text to reflect correct event (sac, Dpty Clk). Modified on 8/7/2009 to
                      seal attachment PDF as it was stricken per 117 (sac, Dpty Clk). (Entered:
                      08/05/2009) Contains One or More Restricted PDFs
 08/06/2009     114   TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                      04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the




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                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 43 Minutes of Motion Hearing, Minutes of
                      Scheduling Conference, Ruling on Motion(s)/Document(s), Taking Motion(s)
                      Under Advisement, Setting/Resetting Deadline(s)/Hearing(s)) as to Lindsey
                      Kent Springer, Oscar Amos Stilley (sam, Dpty Clk) Modified on 11/5/2009 to
                      remove transcript access restriction (a-hc, Dpty Clk). (Entered: 08/06/2009)
 08/06/2009     115   TRANSCRIPT of Proceedings (Unredacted) of Motions Hearing held on
                      7/2/09 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 100 Minutes of Motion Hearing, Ruling on
                      Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s)) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) Modified on
                      11/5/2009 to remove transcript access restriction (a-hc, Dpty Clk). (Entered:
                      08/06/2009)
 08/06/2009     116   RESPONSE in Opposition to Motion (Re: 105 Second MOTION for Bill of
                      Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                      Modified on 8/7/2009 to delete "as to Oscar Amos Stilley" as this document
                      states it is as to defendant Springer only (sac, Dpty Clk). (Entered:
                      08/06/2009)
 08/06/2009     117   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #113
                      Denied, striking/withdrawing document(s) (Re: 113 MOTION to File Out of
                      Time ) (Documents Terminated: 113 MOTION to File Out of Time ) as to
                      Lindsey Kent Springer (pll, Dpty Clk) (Entered: 08/06/2009)
 08/07/2009     118   MOTION to Reconsider (Re: 111 Order, Ruling on Motion(s)/Document(s),
                      117 Order,, Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Striking/Withdrawing Document(s), Striking/Withdrawing
                      Document(s) ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      08/07/2009)
 08/12/2009     119   RESPONSE in Opposition to Motion (Re: 118 MOTION to Reconsider ) by
                      USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 08/12/2009)
 08/12/2009     120   OBJECTION to Proposed Jury Instructions (Re: 108 Proposed Jury
                      Instructions ) by USA as to Oscar Amos Stilley (With attachments) (O'Reilly,
                      Charles) (Entered: 08/12/2009)
 08/12/2009     121   REPLY to Response to Motion (Re: 105 Second MOTION for Bill of
                      Particulars ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      08/12/2009)
 08/12/2009     122   REPLY to Response to Motion (Re: 118 MOTION to Reconsider ) by Lindsey
                      Kent Springer (Springer, Lindsey) (Entered: 08/12/2009)
 08/12/2009     123   Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six




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                      (Re: 2 Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      08/12/2009)
 08/12/2009     124   Eighth BRIEF in Support of Motion (Re: 123 Eighth MOTION to Dismiss
                      Count(s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer
                      (Springer, Lindsey) (Entered: 08/12/2009)
 08/13/2009     125   RESPONSE in Opposition to Motion (Re: 123 Eighth MOTION to Dismiss
                      Count(s) One, Two, Three, Four, Five and Six ) by USA as to Lindsey Kent
                      Springer (O'Reilly, Charles) (Entered: 08/13/2009)
 08/13/2009     126   NOTICE of Intent to Use Expert Witness Testimony by USA as to Lindsey
                      Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 08/13/2009)
 08/17/2009     127   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #118
                      denied (Re: 111 Order, Ruling on Motion, 117 Order, Ruling on Motion); (Re:
                      118 MOTION to Reconsider ) as to Lindsey Kent Springer (kjp, Dpty Clk)
                      Modified on 8/18/2009 to add links to #111, 117 (kjp, Dpty Clk). (Entered:
                      08/17/2009)
 08/17/2009     128   OBJECTION to Proposed Jury Instructions (Re: 107 Proposed Jury
                      Instructions ) as to Lindsey Kent Springer (With attachments) (Springer,
                      Lindsey) (Entered: 08/17/2009)
 08/17/2009     129   OBJECTION to Proposed Jury Instructions Of the government (Re: 108
                      Proposed Jury Instructions ) as to Oscar Amos Stilley (Stilley, Oscar)
                      (Entered: 08/17/2009)
 08/19/2009     130   REPLY to Response to Motion (Re: 123 Eighth MOTION to Dismiss Count
                      (s) One, Two, Three, Four, Five and Six ) by Lindsey Kent Springer (With
                      attachments) (Springer, Lindsey) (Entered: 08/19/2009)
 08/19/2009     131   REPLY to Response to Motion (Re: 109 First MOTION to Dismiss Count(s) 1
                      Conspiracy charge ) by Oscar Amos Stilley (With attachments) (Stilley,
                      Oscar) (Entered: 08/19/2009)
 08/19/2009     132   JOINDER (SUBMITTED AS DOC # 131 )(in 123 Eighth Motion to Dismiss
                      Count(s) filed on 8/12/09) as to Oscar Amos Stilley (lml, Dpty Clk) (Entered:
                      08/20/2009)
 08/19/2009     133   ADOPTION (SUBMITTED AS DOC # 131 ) (of [124, 130] Eighth Brief in
                      Support of Motion, Reply to Response to Motion filed on 8/12/09, 8/19/09) as
                      to Oscar Amos Stilley (lml, Dpty Clk) (Entered: 08/20/2009)
 09/10/2009     134   NOTICE Pursuant to Federal Rule of Evidence 404(b) by USA as to Lindsey
                      Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 09/10/2009)
 09/16/2009     135   ORDER by Judge Stephen P Friot re: Pretrial Conference as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 09/16/2009)
 09/18/2009     136   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #105
                      denied; 109 denied; #123 denied (Re: 105 Second MOTION for Bill of
                      Particulars, 109 First MOTION to Dismiss Count(s) 1 Conspiracy charge, 123
                      Eighth MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six )




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                      as to Lindsey Kent Springer, Oscar Amos Stilley (sjm, Dpty Clk) (Entered:
                      09/18/2009)
 09/21/2009     137   MOTION in Limine by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                      (O'Reilly, Charles) (Entered: 09/21/2009)
 09/21/2009     138   TRIAL BRIEF by USA as to Lindsey Kent Springer, Oscar Amos Stilley
                      (Snoke, Kenneth) (Entered: 09/21/2009)
 09/21/2009     139   NOTICE of Government's Proposed Summary of Indictment by USA as to
                      Lindsey Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on
                      9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered: 09/21/2009)
 09/21/2009     140   NOTICE of Summary of Indictment by Oscar Amos Stilley (Stilley, Oscar)
                      Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk). (Entered:
                      09/21/2009)
 09/21/2009     141   MOTION for Subpoena(s) under Rule 17 by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 09/21/2009)
 09/21/2009     142   TRIAL BRIEF as to Lindsey Kent Springer (With attachments) (Springer,
                      Lindsey) (Entered: 09/21/2009)
 09/21/2009     143   NOTICE Summary of Indictment by Lindsey Kent Springer (Springer,
                      Lindsey) Modified on 9/22/2009 to reflect correct event (tjc, Dpty Clk).
                      (Entered: 09/21/2009)
 09/21/2009     144   First MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     145   Second MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     146   Third MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     147   Fourth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     148   Fifth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     149   MOTION in Limine regarding hearsay and confrontation issues by Oscar
                      Amos Stilley (Stilley, Oscar) (Entered: 09/21/2009)
 09/21/2009     150   Sixth MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     151   Seventh MOTION in Limine by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/21/2009)
 09/21/2009     152   MOTION for Subpoena(s) pursuant to Rule 17(b) by Oscar Amos Stilley
                      (Stilley, Oscar) (Entered: 09/21/2009)
 09/21/2009     153   BRIEF in Support of Motion (Re: 152 MOTION for Subpoena(s) pursuant to
                      Rule 17(b) ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 09/21/2009)




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 09/21/2009     154   OBJECTION to Prosecution 404(b) (Re: 134 Notice (Other) ) by Lindsey
                      Kent Springer (Springer, Lindsey) Modified on 9/22/2009 to reflect correct
                      event (tjc, Dpty Clk). (Entered: 09/21/2009)
 09/21/2009     155   JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in
                      Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed on 9-21-09)
                      as to Oscar Amos Stilley (Stilley, Oscar) (Entered: 09/22/2009)
 09/25/2009     162   MOTION TAKE RULE 15 DEPOSITION by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                      09/25/2009)
 09/27/2009     163   RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                      DEPOSITION ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      09/27/2009)
 09/30/2009     167   MOTION to Reconsider (Re: 136 Order,, Ruling on Motion(s)/Document(s),
                      Ruling on Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer,
                      Lindsey) Modified on 10/1/2009; this is a two-part motion of which only one
                      part was efiled - see 169 for Motion to Clarify (sac, Dpty Clk). (Entered:
                      09/30/2009)
 09/30/2009     168   MOTION Daubert Hearing by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 09/30/2009)
 09/30/2009     169   MOTION to Clarify (submitted as part of 167 ) (Re: 136 Order,, Ruling on
                      Motion(s)/Document(s), Ruling on Motion(s)/Document(s) ) by Lindsey Kent
                      Springer (sac, Dpty Clk) (Entered: 10/01/2009)
 10/01/2009     171   RESPONSE in Opposition to Motion (Re: 168 MOTION Daubert Hearing )
                      by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                      10/01/2009)
 10/05/2009     172   RESPONSE in Opposition to Motion Supplemental (Re: 170 SEALED
                      DOCUMENT ) by Lindsey Kent Springer (Springer, Lindsey) Modified on
                      10/7/2009 to seal pdf pursuant to Court Order # 180 (s-srb, Dpty Clk).
                      (Entered: 10/05/2009) Contains One or More Restricted PDFs
 10/05/2009     173   RESPONSE in Opposition to Motion (Re: 145 Second MOTION in Limine,
                      150 Sixth MOTION in Limine, 146 Third MOTION in Limine, 149 MOTION
                      in Limine regarding hearsay and confrontation issues, 155 JOINDER (in
                      [141, 142, 144, 145, 146, 147, 148, 150, and 151] Motions in Limine, for
                      subpoenas pursuant to Rule 17(b), and trial brief filed on 9-21-09), 148 Fifth
                      MOTION in Limine, 144 First MOTION in Limine, 151 Seventh MOTION in
                      Limine, 147 Fourth MOTION in Limine ) by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/05/2009)
 10/05/2009     174   SEALED MOTION (O'Reilly, Charles) (Entered: 10/05/2009) Contains One or
                      More Restricted PDFs

 10/05/2009     175   RESPONSE in Opposition to Motion (Re: 152 MOTION for Subpoena(s)
                      pursuant to Rule 17(b), 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148,
                      150, and 151] Motions in Limine, for subpoenas pursuant to Rule 17(b), and
                      trial brief filed on 9-21-09), 141 MOTION for Subpoena(s) under Rule 17 ) by




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                      USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                      (Entered: 10/05/2009)
 10/05/2009     176   RESPONSE in Opposition to Motion (Re: 162 MOTION TAKE RULE 15
                      DEPOSITION ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 10/05/2009)
 10/06/2009     178   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #162
                      Granted (Re: 162 MOTION TAKE RULE 15 DEPOSITION ) as to Lindsey
                      Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 10/06/2009)
 10/06/2009     179   MOTION Compel Clerk of Court to Comply with 28 U.S.C. Section 1867(f)
                      and Test v. U.S. by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      10/06/2009)
 10/07/2009     180   SEALED ORDER (s-srb, Dpty Clk) (Entered: 10/07/2009) Contains One or More
                      Restricted PDFs

 10/07/2009     181   SEALED MOTION (O'Reilly, Charles) Modified on 6/4/2010 to unseal per
                      Order # 370 (lml, Dpty Clk). (Entered: 10/07/2009)
 10/08/2009     184   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #166
                      granted (Re: 166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent
                      Springer (pll, Dpty Clk) (Entered: 10/08/2009)
 10/08/2009     185   RESPONSE in Opposition to Motion (Re: 166 Fourth MOTION for Bill of
                      Particulars ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                      Modified on 10/9/2009; this document contains two events and that is not
                      allowed with CM/ECF - see 187 for Motion to Accelerate/Extend/Reset
                      Hearings/Deadlines (sac, Dpty Clk). (Entered: 10/08/2009)
 10/09/2009     188   RESPONSE in Opposition to Motion (Re: 187 MOTION to
                      Accelerate/Extend/Reset Hearing(s)/Deadline(s) (to respond) ) by Lindsey
                      Kent Springer (Springer, Lindsey) (Entered: 10/09/2009)
 10/09/2009     189   NOTICE with Respect to Court's Order (Dkt#178) by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 10/09/2009)
 10/09/2009     190   ERRATA/CORRECTION (Re: 189 Notice (Other) ) by USA as to Lindsey
                      Kent Springer, Oscar Amos Stilley (Snoke, Kenneth) Modified on 10/13/2009
                      to correct title of event (lml, Dpty Clk). (Entered: 10/09/2009)
 10/13/2009     192   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #187
                      Granted in Part, denied in part (Re: 187 MOTION to Accelerate/Extend/Reset
                      Hearing(s)/Deadline(s) (to respond), 185 Response in Opposition to Motion,
                      166 Fourth MOTION for Bill of Particulars ) as to Lindsey Kent Springer (pll,
                      Dpty Clk) (Entered: 10/13/2009)
 10/13/2009     193   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #168
                      Granted in part, Denied in part (Re: 168 MOTION Daubert Hearing ) as to
                      Lindsey Kent Springer (pll, Dpty Clk) (Entered: 10/13/2009)
 10/13/2009     194   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #167,
                      169 Denied (Re: 169 MOTION to Clarify (submitted as part of 167 ), 167
                      MOTION to Reconsider ) as to Lindsey Kent Springer (pll, Dpty Clk)
                      (Entered: 10/13/2009)




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 10/14/2009     198   RESPONSE in Opposition to Motion (Re: 179 MOTION Compel Clerk of
                      Court to Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) by USA as
                      to Lindsey Kent Springer (Snoke, Kenneth) Modified on 10/15/2009 to delete
                      "as to" Oscar Stilley since this document is only as to Lindsey Kent Springer
                      (sac, Dpty Clk). (Entered: 10/14/2009)
 10/14/2009     199   RESPONSE (Re: 134 NOTICE ) by Oscar Amos Stilley (With attachments)
                      (Stilley, Oscar) Modified on 10/15/2009 to change text to reflect correct event
                      and change link (sac, Dpty Clk). (Entered: 10/14/2009)
 10/16/2009     200   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #179
                      granted with specific limitations (Re: 179 MOTION Compel Clerk of Court to
                      Comply with 28 U.S.C. Section 1867(f) and Test v. U.S. ) as to Lindsey Kent
                      Springer(djh, Dpty Clk) (Entered: 10/16/2009)
 10/19/2009     201   Second BILL OF PARTICULARS (Re: 184 Order, Ruling on Motion
                      (s)/Document(s), 194 Order, Ruling on Motion(s)/Document(s), 166 Fourth
                      MOTION for Bill of Particulars ) by USA as to Lindsey Kent Springer
                      (O'Reilly, Charles) (Entered: 10/19/2009)
 10/20/2009     206   MOTION to Exclude MENTION OF THE TESTIMONY OF VIKKI
                      WIGGINS PRIOR TO A REASONABLE TIME AFTER PRODUCTION OF
                      THE TRANSCRIPT OF HER TESTIMONY by Oscar Amos Stilley (Stilley,
                      Oscar) (Entered: 10/20/2009)
 10/21/2009     207   MINUTES of Proceedings - held before Judge Stephen P Friot: Motion
                      Hearing held on 10/21/2009, Pretrial Conference held on 10/21/2009, ruling
                      on motion(s)/document(s): #137,155 grant in part, deny in part;
                      144,146,147,150,151,159 denied; 148, 204, 205, 206 granted,
                      striking/terminating deadline(s)/hearing(s) as to Lindsey Kent Springer, Oscar
                      Amos Stilley (Re: 204 SEALED MOTION, 145 Second MOTION in Limine,
                      150 Sixth MOTION in Limine, 137 MOTION in Limine, 146 Third MOTION
                      in Limine, 149 MOTION in Limine regarding hearsay and confrontation
                      issues, 155 JOINDER (in [141, 142, 144, 145, 146, 147, 148, 150, and 151]
                      Motions in Limine, for subpoenas pursuant to Rule 17(b), and trial brief filed
                      on 9-21-09), 148 Fifth MOTION in Limine, 159 MOTION Emergency
                      Motion Regarding Denny Patridge, 144 First MOTION in Limine, 205
                      SEALED MOTION, 206 MOTION to Exclude MENTION OF THE
                      TESTIMONY OF VIKKI WIGGINS PRIOR TO A REASONABLE TIME
                      AFTER PRODUCTION OF THE TRANSCRIPT OF HER TESTIMONY,
                      151 Seventh MOTION in Limine, 147 Fourth MOTION in Limine ) (Court
                      Reporter: Tracy Washbourne) (pll, Dpty Clk) (Entered: 10/22/2009)
 10/24/2009     209   PROPOSED VOIR DIRE by USA as to Lindsey Kent Springer, Oscar Amos
                      Stilley (O'Reilly, Charles) (Entered: 10/24/2009)
 10/24/2009     210   MOTION to Quash Testimony of Vikki Wiggins by Oscar Amos Stilley
                      (Stilley, Oscar) (Entered: 10/24/2009)
 10/24/2009     211   BRIEF in Support of Motion (Re: 210 MOTION to Quash Testimony of Vikki
                      Wiggins ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 10/24/2009)
 10/26/2009     212   RESPONSE in Opposition to Motion (Re: 210 MOTION to Quash Testimony




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                      of Vikki Wiggins ) by USA as to Oscar Amos Stilley (O'Reilly, Charles)
                      Modified on 10/27/2009 to remove Lindsey Kent Springer name from text, as
                      his name should not have been selected, as this pleading does not pertain to
                      him (tjc, Dpty Clk). (Entered: 10/26/2009)
 10/26/2009     213   NOTICE Regarding Defendants' Discovery by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 10/26/2009)
 10/27/2009     220   ORDER by Judge Stephen P Friot ruling on Government's Oral Motion re:
                      witness Philip Roberts as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                      Dpty Clk) Modified on 10/27/2009 to correct title(pll, Dpty Clk). (Entered:
                      10/27/2009)
 11/01/2009     224   MOTION to Reconsider (Re: 100 Minutes of Motion Hearing,,,,,,,, Ruling on
                      Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Striking/Terminating
                      Deadline(s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                      Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating Deadline
                      (s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s),
                      Striking/Terminating Deadline(s)/Hearing(s), Striking/Terminating Deadline
                      (s)/Hearing(s), Striking/Terminating Deadline(s)/Hearing(s) ) by Lindsey Kent
                      Springer (With attachments) (Springer, Lindsey) Modified on 11/2/2009 to
                      SEAL pdfs per chambers(sac, Dpty Clk). (Entered: 11/01/2009) Contains One or
                      More Restricted PDFs

 11/02/2009     225   RESPONSE in Opposition to Motion and Motion to Seal Attachments (Re:
                      224 MOTION to Reconsider ) by USA as to Lindsey Kent Springer (O'Reilly,
                      Charles) (Entered: 11/02/2009)
 11/03/2009     227   OBJECTION regarding "gift" as to Lindsey Kent Springer (Springer,
                      Lindsey) Modified on 11/4/2009 to correct event (tjc, Dpty Clk). (Entered:
                      11/03/2009)
 11/03/2009     228   NOTICE re: Proposed Jury Instructions by USA as to Lindsey Kent Springer,
                      Oscar Amos Stilley (O'Reilly, Charles) Modified on 11/4/2009 to correct
                      event (tjc, Dpty Clk). (Entered: 11/03/2009)
 11/03/2009     232   JOINDER in Springer's motion for reconsideration, dismissal, or mistrial (in
                      224 ) as to Oscar Amos Stilley (Stilley, Oscar) (Entered: 11/03/2009)
 11/05/2009     235   ORDER by Judge Stephen P Friot re: USM and witnesses as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/06/2009)
 11/08/2009     236   PROPOSED JURY INSTRUCTIONS as to Venue, District Director and
                      Materiality as to Lindsey Kent Springer (With attachments) (Springer,
                      Lindsey) (Entered: 11/08/2009)
 11/08/2009     237   PROPOSED JURY INSTRUCTIONS as to Venue by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (Snoke, Kenneth) (Entered: 11/08/2009)
 11/08/2009     238   ADOPTION of Springer's requested jury instructions (of 236 ) as to Oscar
                      Amos Stilley (Stilley, Oscar) (Entered: 11/08/2009)




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 11/16/2009     244   JURY INSTRUCTIONS by Judge Stephen P Friot as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
 11/16/2009     245   JURY VERDICT as to Lindsey Kent Springer (1) Guilty on Count 1,2,3-4,5-6
                      and Oscar Amos Stilley (2) Guilty on Count 1,3-4 (pll, Dpty Clk) (Entered:
                      11/17/2009)
 11/17/2009     247   ORDER by Judge Stephen P Friot setting supplemental conditions following
                      trial, ruling re: modification of conditions of pretrial release as to Lindsey
                      Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 11/17/2009)
 11/19/2009     248   MOTION Extension to File Motion for New Trial by Lindsey Kent Springer
                      (Springer, Lindsey) Modified on 11/20/2009; This is a two-part motion, see
                      Doc # 249 for second event (tjc, Dpty Clk). (Entered: 11/19/2009)
 11/19/2009     249   MOTION for Judgment of Acquittal (submitted as part of Doc # 248 ) by
                      Lindsey Kent Springer (tjc, Dpty Clk) Modified on 11/20/2009; ENTERED
                      IN ERROR (tjc, Dpty Clk). (Entered: 11/20/2009)
 11/20/2009     252   RESPONSE in Opposition to Motion (Re: 232 JOINDER in Springer's motion
                      for reconsideration, dismissal, or mistrial (in 224 ), 224 MOTION to
                      Reconsider ) by USA as to Lindsey Kent Springer, Oscar Amos Stilley (With
                      attachments) (O'Reilly, Charles) (Entered: 11/20/2009)
 12/01/2009     254   MOTION To provide transcript at public expense by Oscar Amos Stilley
                      (Stilley, Oscar) (Entered: 12/01/2009)
 12/01/2009     255   BRIEF in Support of Motion (Re: 254 MOTION To provide transcript at
                      public expense ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 12/01/2009)
 12/07/2009     258   REPLY to Response to Motion (Re: 232 JOINDER in Springer's motion for
                      reconsideration, dismissal, or mistrial (in 224 ) ) by Oscar Amos Stilley
                      (Stilley, Oscar) Modified on 12/10/2009 to seal PDF; Document STRICKEN
                      per Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More
                      Restricted PDFs

 12/08/2009     259   MOTION to Strike Document(s) (Re: 257 Reply to Response to Motion, 258
                      Reply to Response to Motion ) by USA as to Lindsey Kent Springer, Oscar
                      Amos Stilley (O'Reilly, Charles) (Entered: 12/08/2009)
 12/08/2009     260   MOTION for Judgment of Acquittal by Lindsey Kent Springer (Springer,
                      Lindsey) Modified on 12/10/2009 to seal PDF; Document STRICKEN per
                      Order # 264 (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More Restricted
                      PDFs

 12/08/2009     261   MOTION for Judgment of Acquittal and, MOTION for New Trial by Oscar
                      Amos Stilley (With attachments) (Stilley, Oscar) Modified on 12/10/2009 to
                      seal PDF; Document STRICKEN per Order # 264 (tjc, Dpty Clk). (Entered:
                      12/08/2009) Contains One or More Restricted PDFs
 12/08/2009     262   MOTION for New Trial by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 12/08/2009)
 12/08/2009     263   BRIEF in Support of Motion (Re: 261 MOTION for Judgment of Acquittal
                      and MOTION for New Trial ) by Oscar Amos Stilley (Stilley, Oscar)




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                      Modified on 12/10/2009 to seal PDF; Document STRICKEN per Order # 264
                      (tjc, Dpty Clk). (Entered: 12/08/2009) Contains One or More Restricted PDFs
 12/09/2009     264   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #259
                      Granted, striking/withdrawing document(s) (Re: 259 MOTION to Strike
                      Document(s), 261 MOTION for Judgment of Acquittal and MOTION for
                      New Trial, 257 Reply to Response to Motion, 258 Reply to Response to
                      Motion, 260 MOTION for Judgment of Acquittal, 262 MOTION for New
                      Trial ) (Documents Terminated: 257 Reply to Response to Motion, 261
                      MOTION for Judgment of Acquittal and MOTION for New Trial, 258 Reply
                      to Response to Motion, 260 MOTION for Judgment of Acquittal ) as to
                      Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered:
                      12/09/2009)
 12/10/2009     265   MOTION to Vacate/Set Aside Order dated December 9, 2009, MOTION
                      Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                      Rules 12.1, MOTION 10 days from date of order to refile docket # 257 and #
                      260 in accordance with Local Civil Rule 7.2 including extended page number
                      therein (Re: 264 Order,,, Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Striking/Withdrawing
                      Document(s), Striking/Withdrawing Document(s), Striking/Withdrawing
                      Document(s),,, 257 Reply to Response to Motion, 260 MOTION for Judgment
                      of Acquittal ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      12/10/2009)
 12/11/2009     266   RESPONSE in Opposition to Motion (Re: 265 MOTION to Vacate/Set Aside
                      Order dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260
                      as properly filed under Local Criminal Rules 12.1 MOTION 10 days from
                      date of order to refile docket # 257 and # 260 in accordance with Local Civil
                      Rule 7.2 including extended page number therein ) by USA as to Lindsey
                      Kent Springer (With attachments) (O'Reilly, Charles) (Entered: 12/11/2009)
 12/14/2009     267   MOTION to Reconsider (Re: 264 Order,,, Ruling on Motion(s)/Document(s),
                      Ruling on Motion(s)/Document(s), Ruling on Motion(s)/Document(s),
                      Striking/Withdrawing Document(s), Striking/Withdrawing Document(s),
                      Striking/Withdrawing Document(s),,, ) by Oscar Amos Stilley (Stilley, Oscar)
                      (Entered: 12/14/2009)
 12/14/2009     268   BRIEF in Support of Motion (Re: 267 MOTION to Reconsider ) by Oscar
                      Amos Stilley (Stilley, Oscar) (Entered: 12/14/2009)
 12/15/2009     269   RESPONSE in Opposition to Motion (Re: 267 MOTION to Reconsider ) by
                      USA as to Oscar Amos Stilley (O'Reilly, Charles) (Entered: 12/15/2009)
 12/28/2009     270   AFFIDAVIT of Lindsey K. Springer pursuant to Title 28, Section 144 as to
                      Lindsey Kent Springer (With attachments) (Springer, Lindsey) (Entered:
                      12/28/2009)
 12/28/2009     271   MOTION Disqualify, Recuse, Removal and for Random Reassignment by
                      Lindsey Kent Springer (Springer, Lindsey) (Entered: 12/28/2009)
 12/28/2009     272   BRIEF in Support of Motion (Re: 271 MOTION Disqualify, Recuse, Removal
                      and for Random Reassignment ) by Lindsey Kent Springer (With attachments)




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                      (Springer, Lindsey) (Entered: 12/28/2009)
 12/28/2009     273   MOTION to Strike Document(s) (Re: 266 Response in Opposition to Motion,
                      259 MOTION to Strike Document(s) ) by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 12/28/2009)
 12/28/2009     274   REPLY to Response to Motion (Re: 265 MOTION to Vacate/Set Aside Order
                      dated December 9, 2009 MOTION Reinstate Docket # 257 and # 260 as
                      properly filed under Local Criminal Rules 12.1 MOTION 10 days from date
                      of order to refile docket # 257 and # 260 in accordance with Local Civil Rule
                      7.2 including extended page number therein ) by Lindsey Kent Springer
                      (Springer, Lindsey) (Entered: 12/28/2009)
 01/07/2010     276   RESPONSE in Opposition to Motion (Re: 262 MOTION for New Trial ) by
                      USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered: 01/07/2010)
 01/07/2010     277   RESPONSE in Opposition to Motion (Re: 271 MOTION Disqualify, Recuse,
                      Removal and for Random Reassignment ) by USA as to Lindsey Kent
                      Springer (With attachments) (O'Reilly, Charles) (Entered: 01/07/2010)
 01/12/2010     278   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #254
                      Denied (Re: 254 MOTION To provide transcript at public expense ) as to
                      Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/12/2010)
 01/20/2010     280   MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                      Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue (Re: 2
                      Indictment ) by Lindsey Kent Springer (Springer, Lindsey) (Entered:
                      01/20/2010)
 01/20/2010     281   BRIEF in Support of Motion (Re: 280 MOTION to Dismiss Count(s) ONE for
                      lack of Article III Subject Matter Jurisdiction, Article III Jurisdiction of the
                      Facts and Article III Venue ) by Lindsey Kent Springer (With attachments)
                      (Springer, Lindsey) (Entered: 01/20/2010)
 01/20/2010     282   MOTION to Dismiss Count(s) Two, Three, Four, Five and Six for Lack of
                      Article III Subject Matter Jurisdiction, Article III Jurisdiction of the Facts and
                      Article III Venue (Re: 2 Indictment ) by Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 01/20/2010)
 01/20/2010     283   BRIEF in Support of Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                      Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                      Article III Jurisdiction of the Facts and Article III Venue ) by Lindsey Kent
                      Springer (Springer, Lindsey) (Entered: 01/20/2010)
 01/20/2010     284   MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                      Standing of United States of America, (2) lack of Article III Case or
                      Controversy, (3) for violation of Title 28, United States Code, Section 547,
                      and accompanying brief in support thereof (Re: 2 Indictment ) by Lindsey
                      Kent Springer (Springer, Lindsey) (Entered: 01/20/2010)
 01/21/2010     286   REPLY to Response to Motion (Re: 271 MOTION Disqualify, Recuse,
                      Removal and for Random Reassignment ) by Lindsey Kent Springer
                      (Springer, Lindsey) (Entered: 01/21/2010)




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 01/21/2010     287   REPLY (Re: 270 Affidavit ) by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 01/21/2010)
 01/21/2010     288   REPLY to Response to Motion (Re: 262 MOTION for New Trial ) by Lindsey
                      Kent Springer (With attachments) (Springer, Lindsey) (Entered: 01/21/2010)
 01/27/2010     292   RESPONSE in Opposition to Motion (Re: 282 MOTION to Dismiss Count(s)
                      Two, Three, Four, Five and Six for Lack of Article III Subject Matter
                      Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 280
                      MOTION to Dismiss Count(s) ONE for lack of Article III Subject Matter
                      Jurisdiction, Article III Jurisdiction of the Facts and Article III Venue, 285
                      MOTION to Strike Document(s) 276 and 277, 284 MOTION to Dismiss
                      Indictment/Information/Complaint for lack of Article III Standing of United
                      States of America, (2) lack of Article III Case or Controversy, (3) for violation
                      of Title 28, United States Code, Section 547, and accompanying brief in
                      MOTION to Dismiss Indictment/Information/Complaint for lack of Article III
                      Standing of United States of America, (2) lack of Article III Case or
                      Controversy, (3) for violation of Title 28, United States Code, Section 547,
                      and accompanying brief in ) by USA as to Lindsey Kent Springer (Snoke,
                      Kenneth) (Entered: 01/27/2010)
 01/28/2010     293   OPINION AND ORDER by Judge Stephen P Friot, ruling on motion
                      (s)/document(s): #224,232,262,265,267,271,273,285 Denied (Re: 265
                      MOTION to Vacate/Set Aside Order dated December 9, 2009 MOTION
                      Reinstate Docket # 257 and # 260 as properly filed under Local Criminal
                      Rules 12.1 MOTION 10 days from date of order to refile docket # 257 and #
                      260 in accordance with Local Civil Rule 7.2 including extended page number
                      therein, 267 MOTION to Reconsider, 232 JOINDER in Springer's motion for
                      reconsideration, dismissal, or mistrial (in 224 ), 262 MOTION for New Trial,
                      224 MOTION to Reconsider, 273 MOTION to Strike Document(s), 271
                      MOTION Disqualify, Recuse, Removal and for Random Reassignment, 285
                      MOTION to Strike Document(s) 276 and 277 ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (pll, Dpty Clk) (Entered: 01/28/2010)
 02/01/2010     294   JOINDER (in [262, 265, 271, 272, 273, 274, 280, 281, 282, 283, 284, 285,
                      286, and 288] Multiple motions filed on 12/28/09 mostly) as to Oscar Amos
                      Stilley (Stilley, Oscar) (Entered: 02/01/2010)
 02/01/2010     295   MOTION to Dismiss Count(s) One, Two, Three, Four, Five and Six regarding
                      regulations not in compliance with APA (Re: 2 Indictment ) by Lindsey Kent
                      Springer (With attachments) (Springer, Lindsey) (Entered: 02/01/2010)
 02/01/2010     296   MOTION to Modify Conditions of Pretrial Release by Oscar Amos Stilley
                      (Stilley, Oscar) (Entered: 02/01/2010)
 02/01/2010     297   First MOTION to Strike Document(s) by Stephen P. Friot or Claire V. Eagan,
                      particularly (Re: 278 Order, Ruling on Motion(s)/Document(s), 290
                      Scheduling Order, Setting/Resetting Deadline(s)/Hearing(s), 291 Order,,
                      Setting/Resetting Deadline(s)/Hearing(s), Setting/Resetting Deadline
                      (s)/Hearing(s),, 293 Opinion and Order,,,, Ruling on Motion(s)/Document(s),
                      Ruling on Motion(s)/Document(s), Ruling on Motion(s)/Document(s), Ruling
                      on Motion(s)/Document(s), 24 Order,, Reassigning Case,, Changing Case




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                      Number, 264 Order,,, Ruling on Motion(s)/Document(s), Ruling on Motion
                      (s)/Document(s), Ruling on Motion(s)/Document(s), Striking/Withdrawing
                      Document(s), Striking/Withdrawing Document(s), Striking/Withdrawing
                      Document(s),,, 247 Order, Ruling Re: Modification of Conditions of Pretrial
                      Release ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 02/01/2010)
 02/02/2010     298   BRIEF in Support of Motion (Re: 297 First MOTION to Strike Document(s)
                      by Stephen P. Friot or Claire V. Eagan, particularlyFirst MOTION to Strike
                      Document(s) by Stephen P. Friot or Claire V. Eagan, particularlyFirst
                      MOTION to Strike Document(s) by Stephen P. Friot or Claire V. Eagan,
                      particularlyFirst MOTION to Strike Document(s) by Stephen P. Friot or
                      Claire V. Eagan, particularly, 296 MOTION to Modify Conditions of Pretrial
                      Release ) by Oscar Amos Stilley (Stilley, Oscar) (Entered: 02/02/2010)
 02/03/2010     299   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #296
                      denied (Re: 296 MOTION to Modify Conditions of Pretrial Release ) as to
                      Oscar Amos Stilley (sjm, Dpty Clk) Modified on 2/4/2010 to remove Lindsey
                      Kent Springer from text (lml, Dpty Clk). (Entered: 02/03/2010)
 02/03/2010     300   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #297
                      denied (Re: 297 First MOTION to Strike Document(s) by Stephen P. Friot or
                      Claire V. Eagan, particularlyFirst MOTION to Strike Document(s) by
                      Stephen P. Friot or Claire V. Eagan, particularlyFirst MOTION to Strike
                      Document(s) by Stephen P. Friot or Claire V. Eagan, particularlyFirst
                      MOTION to Strike Document(s) by Stephen P. Friot or Claire V. Eagan,
                      particularly #294 granted) as to Oscar Amos Stilley; (sjm, Dpty Clk)
                      Modified on 2/3/2010 to correct entry ruling on #294 also(sjm, Dpty Clk).
                      (Entered: 02/03/2010)
 02/04/2010     302   RESPONSE in Opposition to Motion (Re: 295 MOTION to Dismiss Count(s)
                      One, Two, Three, Four, Five and Six regarding regulations not in compliance
                      with APA ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                      02/04/2010)
 02/10/2010     308   REPLY to Response to Motion (Re: 282 MOTION to Dismiss Count(s) Two,
                      Three, Four, Five and Six for Lack of Article III Subject Matter Jurisdiction,
                      Article III Jurisdiction of the Facts and Article III Venue, 280 MOTION to
                      Dismiss Count(s) ONE for lack of Article III Subject Matter Jurisdiction,
                      Article III Jurisdiction of the Facts and Article III Venue, 284 MOTION to
                      Dismiss Indictment/Information/Complaint for lack of Article III Standing of
                      United States of America, (2) lack of Article III Case or Controversy, (3) for
                      violation of Title 28, United States Code, Section 547, and accompanying brief
                      in MOTION to Dismiss Indictment/Information/Complaint for lack of Article
                      III Standing of United States of America, (2) lack of Article III Case or
                      Controversy, (3) for violation of Title 28, United States Code, Section 547,
                      and accompanying brief in ) by Lindsey Kent Springer (Springer, Lindsey)
                      (Entered: 02/10/2010)
 02/11/2010     309   JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                      filed on 2/1/10, 2/8/10, 2/10/10) as to Oscar Amos Stilley (Stilley, Oscar)
                      (Entered: 02/11/2010)




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 02/12/2010     310   RESPONSE in Opposition to Motion (Re: 306 MOTION Stay all Orders by
                      Judge Friot pending determination by Surpeme Court in 09-8701, 309
                      JOINDER (in [295, 306, 308] Motion to dismiss...., Motion for Stay..., Reply
                      filed on 2/1/10, 2/8/10, 2/10/10) ) by USA as to Lindsey Kent Springer, Oscar
                      Amos Stilley (With attachments) (O'Reilly, Charles) (Entered: 02/12/2010)
 02/18/2010     311   REPLY to Response to Motion (Re: 295 MOTION to Dismiss Count(s) One,
                      Two, Three, Four, Five and Six regarding regulations not in compliance with
                      APA ) by Lindsey Kent Springer (Springer, Lindsey) (Entered: 02/18/2010)
 02/23/2010     313   ORDER by Judge Stephen P Friot re: consideration of non-standard
                      conditions of supervised release as to Lindsey Kent Springer, Oscar Amos
                      Stilley (pll, Dpty Clk) (Entered: 02/23/2010)
 02/25/2010     314   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #295
                      Denied (Re: 295 MOTION to Dismiss Count(s) One, Two, Three, Four, Five
                      and Six regarding regulations not in compliance with APA ) as to Lindsey
                      Kent Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 02/25/2010)
 03/25/2010     316   ORDER by Judge Stephen P Friot, ruling re: modification of conditions of
                      pretrial release as to Lindsey Kent Springer, Oscar Amos Stilley (pll, Dpty
                      Clk) Modified on 3/25/2010 to add PDF (pll, Dpty Clk). (Entered:
                      03/25/2010)
 03/30/2010     318   NOTICE Regarding Defendants' Reference to Variance in Objections to PSIR
                      by USA as to Lindsey Kent Springer, Oscar Amos Stilley (O'Reilly, Charles)
                      (Entered: 03/30/2010)
 03/30/2010     319   EXHIBIT LIST and Witness List for Sentencing by USA as to Lindsey Kent
                      Springer, Oscar Amos Stilley (With attachments) (O'Reilly, Charles) (Entered:
                      03/30/2010)
 03/30/2010     320   SEALED DOCUMENT (Stilley, Oscar) (Entered: 03/30/2010) Contains One or
                      More Restricted PDFs

 03/30/2010     321   SENTENCING MEMORANDUM as to Lindsey Kent Springer (Springer,
                      Lindsey) (Entered: 03/31/2010)
 04/06/2010     325   EXHIBIT LIST as to Lindsey Kent Springer (Springer, Lindsey) Modified on
                      4/7/2010; This is a multi-event document, see Document # 327 for second
                      event (tjc, Dpty Clk). (Entered: 04/06/2010)
 04/09/2010     332   REPLY (Re: 321 Sentencing Memorandum ) by USA as to Lindsey Kent
                      Springer (O'Reilly, Charles) (Entered: 04/09/2010)
 04/23/2010     336   MINUTES of Proceedings - held before Judge Stephen P Friot: Sentencing
                      held on 4/23/2010, striking/terminating deadline(s)/hearing(s) as to Lindsey
                      Kent Springer, Oscar Amos Stilley (Court Reporter: Tracy Washbourne)
                      (With attachments) (pll, Dpty Clk) (Entered: 04/28/2010)
 04/23/2010     339   MOTION for Stay of Execution of Sentence, MOTION for Release Pending
                      Appeal by Lindsey Kent Springer (s-srl, Dpty Clk) (Entered: 04/29/2010)
 04/23/2010     340   NOTICE OF APPEAL to Circuit Court (Re: 337 Judgment and Commitment,
                      Entering Judgment ) as to Lindsey Kent Springer (s-srl, Dpty Clk) (Entered:




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                      04/29/2010)
 04/23/2010     348   NOTICE OF APPEAL to Circuit Court (Re: 338 Judgment and Commitment,
                      Entering Judgment ) as to Oscar Amos Stilley (s-srl, Dpty Clk) Modified on
                      4/30/2010 to correct file date (s-srl, Dpty Clk). (Entered: 04/30/2010)
 04/27/2010     334   ORDER by Judge Stephen P Friot entered without prejudice to the right of
                      standby counsel to apply for compensation for their services, terminating
                      attorney Charles Robert Burton, IV and Robert Scott Williams as to Lindsey
                      Kent Springer, Oscar Amos Stilley (djh, Dpty Clk) (Entered: 04/27/2010)
 04/28/2010     337   JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                      judgment as to Lindsey Kent Springer (pll, Dpty Clk) (Entered: 04/28/2010)
 04/28/2010     338   JUDGMENT AND COMMITMENT by Judge Stephen P Friot, entering
                      judgment as to Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/28/2010)
 04/30/2010     345   MOTION Amended Request For Stay of Execution of Sentence and
                      Judgement and Appeal Bond Pending Appeal (Re: 337 Judgment and
                      Commitment, Entering Judgment ) by Lindsey Kent Springer (Springer,
                      Lindsey) Modified on 5/3/2010 to seal PDF; Document STRICKEN per Order
                      # 352 (tjc, Dpty Clk). (Entered: 04/30/2010) Contains One or More Restricted PDFs
 04/30/2010     346   ORDER by Judge Stephen P Friot re: mailing addresses as to Lindsey Kent
                      Springer, Oscar Amos Stilley (pll, Dpty Clk) (Entered: 04/30/2010)
 04/30/2010     347   MOTION to Strike Document(s) (Re: 345 MOTION Amended Request For
                      Stay of Execution of Sentence and Judgement and Appeal Bond Pending
                      Appeal ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                      04/30/2010)
 04/30/2010     350   RESPONSE in Support of Motion (Re: 343 MOTION Transcript at Public
                      Expense ) by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                      04/30/2010)
 04/30/2010     352   ORDER by Judge Stephen P Friot, striking/withdrawing document(s) (Re: 345
                      MOTION Amended Request For Stay of Execution of Sentence and
                      Judgement and Appeal Bond Pending Appeal ) (Documents Terminated: 345
                      MOTION Amended Request For Stay of Execution of Sentence and
                      Judgement and Appeal Bond Pending Appeal ) as to Lindsey Kent Springer
                      (pll, Dpty Clk) (Entered: 04/30/2010)
 05/03/2010     356   RESPONSE in Opposition to Motion (Re: 354 MOTION for Leave to Exceed
                      Page Limitation For Leave ) by USA as to Lindsey Kent Springer (O'Reilly,
                      Charles) (Entered: 05/03/2010)
 05/03/2010     357   RESPONSE (Re: 339 MOTION for Stay of Execution of Sentence MOTION
                      for Release Pending Appeal ) by USA as to Lindsey Kent Springer (O'Reilly,
                      Charles) (Entered: 05/03/2010)
 05/03/2010     359   MOTION For Stay Of Judgement (Re: 339 MOTION for Stay of Execution of
                      Sentence MOTION for Release Pending Appeal ) by Lindsey Kent Springer
                      (Springer, Lindsey) Modified on 5/4/2010; this is a two-part motion of which
                      only one part was efiled - see 360 for Motion for Release Pending Appeal




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                      (sac, Dpty Clk). (Entered: 05/03/2010)
 05/03/2010     360   MOTION for Release Pending Appeal (submitted as part of 359 ) by Lindsey
                      Kent Springer (sac, Dpty Clk) (Entered: 05/04/2010)
 05/06/2010     361   RESPONSE in Opposition to Motion (Re: 359 MOTION for Stay Of
                      Judgement ) by USA as to Lindsey Kent Springer (O'Reilly, Charles)
                      (Entered: 05/06/2010)
 05/07/2010     363   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #359,
                      360 Denied (Re: 360 MOTION for Release Pending Appeal (submitted as part
                      of 359 ), 359 MOTION for Stay Of Judgement ) as to Lindsey Kent Springer
                      (pll, Dpty Clk) (Entered: 05/07/2010)
 05/09/2010     364   MOTION For Delivery of Filed Documents by Lindsey Kent Springer
                      (Springer, Lindsey) (Entered: 05/09/2010)
 05/24/2010     365   TRANSCRIPT ORDER FORM as to Lindsey Kent Springer (With
                      attachments) (Springer, Lindsey) Modified on 5/25/2010 to seal the pdf as it is
                      not fully executed and should have been submitted to the court reporter (sac,
                      Dpty Clk). (Entered: 05/24/2010) Contains One or More Restricted PDFs
 06/01/2010     368   MOTION to Reconsider Release Pending Appeal (Re: 363 Order, Ruling on
                      Motion(s)/Document(s) ) by Lindsey Kent Springer (Springer, Lindsey)
                      Modified on 6/2/2010; This is two-part motion, see Doc # 369 for second
                      event (tjc, Dpty Clk). (Entered: 06/01/2010)
 06/01/2010     369   MOTION for Hearing (submitted as part of Doc # 368 ) by Lindsey Kent
                      Springer (tjc, Dpty Clk) (Entered: 06/02/2010)
 06/04/2010     371   Amended MOTION to Reconsider Re: 369 MOTION for Hearing (submitted
                      as part of Doc # 368 ), 368 MOTION to Reconsider Release Pending Appeal )
                      by Lindsey Kent Springer (Springer, Lindsey) Modified on 6/7/2010 to correct
                      event; also this is two-part motion, see Document # 372 for second event (tjc,
                      Dpty Clk). (Entered: 06/04/2010)
 06/04/2010     372   Amended MOTION for Hearing re: Evidentiary (submitted as part of Doc #
                      371 ) by Lindsey Kent Springer (tjc, Dpty Clk) (Entered: 06/07/2010)
 06/08/2010     373   MOTION to Withdraw Attorney(s) Kenneth P. Snoke by USA as to Lindsey
                      Kent Springer, Oscar Amos Stilley (O'Reilly, Charles) (Entered: 06/08/2010)
 06/08/2010     374   ORDER by Judge Stephen P Friot, terminating attorney Kenneth P Snoke,
                      ruling on motion(s)/document(s): #373 Granted (Re: 373 MOTION to
                      Withdraw Attorney(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (pll,
                      Dpty Clk) (Entered: 06/08/2010)
 06/08/2010     375   RESPONSE in Opposition to Motion (Re: 371 MOTION to Reconsider, 368
                      MOTION to Reconsider Release Pending Appeal ) by USA as to Lindsey
                      Kent Springer (O'Reilly, Charles) (Entered: 06/08/2010)
 06/08/2010     376   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #364
                      moot (Re: 364 MOTION For Delivery of Filed Documents ) as to Lindsey
                      Kent Springer (pll, Dpty Clk) (Entered: 06/08/2010)




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 06/08/2010     377   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #368,
                      369, 371, 372 Denied (Re: 369 MOTION for Hearing (submitted as part of
                      Doc # 368 ), 371 MOTION to Reconsider, 372 Amended MOTION for
                      Hearing re: Evidentiary (submitted as part of Doc # 371 ), 368 MOTION to
                      Reconsider Release Pending Appeal ) as to Lindsey Kent Springer (pll, Dpty
                      Clk) (Entered: 06/08/2010)
 07/07/2010     381   ORDER by Judge Stephen P Friot - Certificate pursuant to 18 USC 3006A(d)
                      (3) re: CJA voucher as to Lindsey Kent Springer (pll, Dpty Clk) (Entered:
                      07/07/2010)
 07/12/2010     382   TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                      04/22/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 132). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal 43 Minutes of Motion
                      Hearing, Minutes of Scheduling Conference, Ruling on Motion(s)/Document
                      (s), Taking Motion(s) Under Advisement, Setting/Resetting Deadline
                      (s)/Hearing(s),,, Ruling on Motion(s)/Document(s), Taking Motion(s) Under
                      Advisement, Setting/Resetting Deadline(s)/Hearing(s),,, Ruling on Motion
                      (s)/Document(s), Taking Motion(s) Under Advisement, Setting/Resetting
                      Deadline(s)/Hearing(s),,, Ruling on Motion(s)/Document(s), Taking Motion(s)
                      Under Advisement, Setting/Resetting Deadline(s)/Hearing(s),,, Ruling on
                      Motion(s)/Document(s), Taking Motion(s) Under Advisement,
                      Setting/Resetting Deadline(s)/Hearing(s),,, Ruling on Motion(s)/Document(s),
                      Taking Motion(s) Under Advisement, Setting/Resetting Deadline(s)/Hearing
                      (s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk).
                      Modified on 7/13/2010 to create link to 340 (sac, Dpty Clk). (Entered:
                      07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     383   TRANSCRIPT of Proceedings (Unredacted) of Motion Hearing held on
                      07/02/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 159). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 100
                      Minutes of Motion Hearing, Ruling on Motion(s)/Document(s),
                      Striking/Terminating Deadline(s)/Hearing(s),, Ruling on Motion(s)/Document
                      (s), Striking/Terminating Deadline(s)/Hearing(s),, Ruling on Motion
                      (s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),, Ruling on
                      Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),, Ruling
                      on Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),,
                      Ruling on Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing
                      (s),, Ruling on Motion(s)/Document(s), Striking/Terminating Deadline




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                      (s)/Hearing(s),, Ruling on Motion(s)/Document(s), Striking/Terminating
                      Deadline(s)/Hearing(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley
                      (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     384   TRANSCRIPT of Proceedings (Unredacted) of Pretrial Hearing held on
                      10/21/2009 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 139). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 207
                      Minutes of Motion Hearing, Minutes of Pretrial Conference, Ruling on
                      Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing(s),,,
                      Ruling on Motion(s)/Document(s), Striking/Terminating Deadline(s)/Hearing
                      (s),,, Ruling on Motion(s)/Document(s), Striking/Terminating Deadline
                      (s)/Hearing(s),,, Ruling on Motion(s)/Document(s), Striking/Terminating
                      Deadline(s)/Hearing(s),,, Ruling on Motion(s)/Document(s),
                      Striking/Terminating Deadline(s)/Hearing(s) ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More
                      Restricted PDFs

 07/12/2010     385   TRANSCRIPT of Proceedings (Unredacted) of Voir Dire and Jury Trial held
                      on 10/26/2009 before Judge Stephen P Friot (Court Reporter: Tracy
                      Washbourne)(Pages: 1 to 242)(Re: 217 Minutes of Jury Trial Begun, 340
                      Notice of Appeal to Circuit Court, 218 Minutes of Jury Trial Held,
                      Setting/Resetting Scheduling Order Date(s), 216 Minutes of Voir Dire/Jury
                      Selection Held) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty
                      Clk)(See Court Clerk to view this transcript) Modified on 7/13/2010 to include
                      that Voir Dire is included in this transcript (sac, Dpty Clk). (Entered:
                      07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     386   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/27/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      243 to 515). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 221
                      Minutes of Jury Trial Held, Ruling on Motion(s)/Document(s),, Ruling on
                      Motion(s)/Document(s) ) as to Lindsey Kent Springer, Oscar Amos Stilley
                      (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     387   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/28/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      516 to 640). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party




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                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 222 Minutes of Jury Trial Held, Setting/Resetting
                      Deadline(s)/Hearing(s),, Setting/Resetting Deadline(s)/Hearing(s), 340 Notice
                      of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos Stilley
                      (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     388   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/29/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      641 to 880). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 223
                      Minutes of Jury Trial Held, Ruling on Motion(s)/Document(s),
                      Setting/Resetting Scheduling Order Date(s),, Ruling on Motion(s)/Document
                      (s), Setting/Resetting Scheduling Order Date(s) ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More
                      Restricted PDFs

 07/12/2010     389   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 10/30/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      881 to 1130). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 229 Minutes of Jury Trial Held, Setting/Resetting
                      Scheduling Order Date(s),, Setting/Resetting Scheduling Order Date(s), 340
                      Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos
                      Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     390   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/02/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      1131 to 1327). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 230 Minutes of Jury Trial Held, Setting/Resetting
                      Scheduling Order Date(s),, Setting/Resetting Scheduling Order Date(s), 340
                      Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos
                      Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     391   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/03/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      1328 to 1608). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to




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                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 231
                      Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),,
                      Setting/Resetting Scheduling Order Date(s) ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More
                      Restricted PDFs

 07/12/2010     392   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/04/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      1609 to 1934). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 233 Minutes of Jury Trial Held, Setting/Resetting
                      Scheduling Order Date(s),, Setting/Resetting Scheduling Order Date(s), 340
                      Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos
                      Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     393   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/05/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      1935 to 2202). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 234
                      Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),,
                      Setting/Resetting Scheduling Order Date(s) ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More
                      Restricted PDFs

 07/12/2010     394   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/09/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      2203 to 2454). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 239 Minutes of Jury Trial Held, Setting/Resetting
                      Scheduling Order Date(s),, Setting/Resetting Scheduling Order Date(s), 340
                      Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos
                      Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     395   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/10/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:




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                      2455 to 2669). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 240 Minutes of Jury Trial Held, Setting/Resetting
                      Scheduling Order Date(s),, Setting/Resetting Scheduling Order Date(s), 340
                      Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos
                      Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     396   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/12/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      2670 to 2949). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 241 Minutes of Jury Trial Held, Setting/Resetting
                      Scheduling Order Date(s),, Setting/Resetting Scheduling Order Date(s), 340
                      Notice of Appeal to Circuit Court ) as to Lindsey Kent Springer, Oscar Amos
                      Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     397   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/13/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      2950 to 3056). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 242
                      Minutes of Jury Trial Held, Setting/Resetting Scheduling Order Date(s),,
                      Setting/Resetting Scheduling Order Date(s) ) as to Lindsey Kent Springer,
                      Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains One or More
                      Restricted PDFs

 07/12/2010     398   TRANSCRIPT of Proceedings (Unredacted) of Jury Trial held on 11/16/2009
                      before Judge Stephen P Friot (Court Reporter: Tracy Washbourne) (Pages:
                      3057 to 3090). NOTICE RE REDACTION OF TRANSCRIPTS: A party must
                      file a Transcript Redaction Request within 21 calendar days. If a party fails to
                      request redaction, this unredacted transcript may be made electronically
                      available to the public without redaction after 90 calendar days. Any party
                      needing a copy of the transcript to review for redaction purposes may view the
                      transcript at the court public terminal at no charge or may purchase a copy
                      from the court reporter. (Re: 340 Notice of Appeal to Circuit Court, 243
                      Minutes of Jury Trial Completed, Striking/Terminating Deadline(s)/Hearing
                      (s) ) as to Lindsey Kent Springer, Oscar Amos Stilley (sam, Dpty Clk)
                      (Entered: 07/12/2010) Contains One or More Restricted PDFs
 07/12/2010     399   TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on




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                      04/21/2010 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 1 to 210). NOTICE RE REDACTION OF TRANSCRIPTS: A party
                      must file a Transcript Redaction Request within 21 calendar days. If a party
                      fails to request redaction, this unredacted transcript may be made
                      electronically available to the public without redaction after 90 calendar days.
                      Any party needing a copy of the transcript to review for redaction purposes
                      may view the transcript at the court public terminal at no charge or may
                      purchase a copy from the court reporter. (Re: 336 Minutes of Sentencing,
                      Striking/Terminating Deadline(s)/Hearing(s),, Striking/Terminating Deadline
                      (s)/Hearing(s), 340 Notice of Appeal to Circuit Court ) as to Lindsey Kent
                      Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains
                      One or More Restricted PDFs

 07/12/2010     400   TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                      04/22/2010 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 211 to 390). NOTICE RE REDACTION OF TRANSCRIPTS: A party
                      must file a Transcript Redaction Request within 21 calendar days. If a party
                      fails to request redaction, this unredacted transcript may be made
                      electronically available to the public without redaction after 90 calendar days.
                      Any party needing a copy of the transcript to review for redaction purposes
                      may view the transcript at the court public terminal at no charge or may
                      purchase a copy from the court reporter. (Re: 336 Minutes of Sentencing,
                      Striking/Terminating Deadline(s)/Hearing(s),, Striking/Terminating Deadline
                      (s)/Hearing(s), 340 Notice of Appeal to Circuit Court ) as to Lindsey Kent
                      Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains
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 07/12/2010     401   TRANSCRIPT of Proceedings (Unredacted) of Sentencing held on
                      04/23/2010 before Judge Stephen P Friot (Court Reporter: Tracy Washbourne)
                      (Pages: 391 to 469). NOTICE RE REDACTION OF TRANSCRIPTS: A party
                      must file a Transcript Redaction Request within 21 calendar days. If a party
                      fails to request redaction, this unredacted transcript may be made
                      electronically available to the public without redaction after 90 calendar days.
                      Any party needing a copy of the transcript to review for redaction purposes
                      may view the transcript at the court public terminal at no charge or may
                      purchase a copy from the court reporter. (Re: 336 Minutes of Sentencing,
                      Striking/Terminating Deadline(s)/Hearing(s),, Striking/Terminating Deadline
                      (s)/Hearing(s), 340 Notice of Appeal to Circuit Court ) as to Lindsey Kent
                      Springer, Oscar Amos Stilley (sam, Dpty Clk) (Entered: 07/12/2010) Contains
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